
959 So.2d 483 (2007)
STATE of Louisiana
v.
S.J.I.
No. 2006-OK-2649.
Supreme Court of Louisiana.
June 22, 2007.
Granted. The judgment of the court of appeal dismissing relator's appeal and remanding the case to the district court for further proceedings pursuant to State v. Counterman, 475 So.2d 336 (La.1985), is vacated and this case is remanded to the court of appeal to address relator's assignments of error on the merits. Given the trial court's granting of relator's pro se motion for an appeal and its appointment of the Louisiana Appellate Project to represent relator on appeal, and given the state's failure to complain about any procedural irregularities in the ordering of the out-of-time appeal, dismissal of the present appeal and a remand to the district court to cure any defects under this Court's Counterman decision would only prolong the delay without serving any useful purpose.
TRAYLOR, J., would deny.
